                    Case 1:21-cr-00536-ACR Document 84 Filed 04/19/23 Page 1 of 1
   Rev: 




                                       UNITED STATES DISTRICT COURT
                                       FOR THE DISTRICT OF COLUMBIA


   UNITED STATES OF AMERICA
                  vs.                                     Criminal No.               21-536       (ACR)


  KAROL J. CHWIESIUK- 1
                                                       Category       A
  AGNIESZKA CHWIESIUK- 2




                          Defendant(s)



                                      REASSIGNMENT OF CRIMINAL CASE


   The above-entitled case was reassigned on           4/19/2023      from Judge Colleen Kollar-Kotelly

to Judge Ana C. Reyes                            by direction of the Calendar Committee.



                                      (Case Transferred by Consent)


                                                              JUDGE 58'2/3+&2175(5$6
                                                              Chair, Calendar and Case
                                                              Management Committee




   cc:            Judge Colleen Kollar-Kotelly                & Courtroom Deputy
                  Judge Ana C. Reyes                           & Courtroom Deputy

                  U.S. Attorney’s Office – Judiciary Square Building, Room 5133
                  Statistical Clerk
